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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF ILLINOIS
                           SPRINGFIELD DIVISION



LACIE DAVIS, individually and on behalf of )
all others similarly situated,             )
                                           )
                Plaintiff,                 )    Case No. 3:22-cv-03071-CRL-KLM
                                           )
        v.                                 )    Hon. District Judge Colleen R. Lawless
                                           )
RICOLA USA, INC.,                          )    Hon. Magistrate Karen L. McNaught
                                           )
                Defendant.                 )
                                           )
                                           )




    RICOLA USA, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
            SUPPORT OF MOTION FOR SUMMARY JUDGMENT



                         ORAL ARGUMENT REQUESTED
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       Defendant Ricola USA, Inc. (“Ricola”) respectfully submits this Memorandum of Law in

Support of Its Motion For Summary Judgment. 1

                                      I. INTRODUCTION

       Plaintiff was a satisfied and frequent purchaser of Ricola’s Original Herb cough drops (the

“Product”) for over 20 years. After speaking with her attorney whom she met through a Facebook

ad, Plaintiff apparently learned for the first time that the active ingredient in the Product was

menthol. Plaintiff alleges she was deceived by the front of the package to believe the active

ingredient is herbal and, forming the sole basis for these allegations, assumes that the menthol in

the Product is synthetic.

       Plaintiff brings claims against Ricola for violation of the Illinois Consumer Fraud and

Deceptive Business Practices Act (“ICFA”) and for unjust enrichment. She alleges that she was

misled by the statement “Made With Swiss Alpine Herbs,” and imagery of herbs on the front label,

to believe that the Product’s “functions” were provided by herbal active ingredients. Plaintiff

asserts that she was injured because she paid more for the Product believing it had herbal active

ingredients. When filing her complaint, Plaintiff relied on assumptions from her counsel that the

menthol in the Product is non-herbal to allege she was deceived and harmed.

       At this stage, Plaintiff can no longer rely on her allegations alone and must come forward

with admissible evidence to support her claims. Summary judgment should be granted on

Plaintiff’s claims because she cannot meet her evidentiary burden, she lacks Article III standing,

and her claims are expressly preempted by federal law. Ricola moves for summary judgment on

five independent grounds.




1
  Ricola believes that a hearing would be helpful to the Court in resolving these issues and
respectfully requests that Plaintiff’s Motion be set for oral argument pursuant to Local Rule 7.1(A).
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          First, because her assumption that the Product’s active ingredient is synthetic is wrong,

Plaintiff has no evidence that Ricola engaged in a deceptive act or practice. The undisputed facts

here demonstrate that the menthol in the Product comes solely from herbs. Plaintiff thus has

not put forward any evidence that consumers could have been misled.

          Second, Plaintiff has no evidence of Ricola’s “intent” that she rely on the challenged

claims. Plaintiff has not identified any documents, taken any depositions, or produced any expert

evidence supporting this element.

          Third, Plaintiff has failed to offer any evidence of actual damages. Although her expert,

Andrea Matthews, Ph.D., opined that she might be able to perform a damages analysis in the future

if asked – no such work was ever done and all discovery has since closed in this matter.

Accordingly, she has not met her burden to establish that the Product’s labeling proximately caused

actual damages to her. Without any viable damages model, Plaintiff cannot proceed to trial on her

claims.

          Fourth, Plaintiff lacks standing under Article III because she has no concrete injury.

Plaintiff bought the Product believing the active ingredient was herbal in nature. She received just

that – a Product with herbal menthol (as opposed to synthetic menthol) as the active ingredient.

She therefore lacks any evidence of actual damages to support Article III standing.

          Fifth, Plaintiff’s claims are expressly preempted by the FDCA. Specifically, the Product’s

label is regulated by the FDA’s over-the-counter “monograph” system. The FDA directs which

ingredients must be listed as “active” and “inactive,” in the ubiquitous Drug Facts panel. Plaintiff

alleges that she inferred from the statements “Cough Suppressant” and “Oral Anesthetic,” the

Product’s name, and images of herbs on the front label that the Product’s functions were provided

by herbal ingredients. (ECF No. 1, ¶¶ 17, 22, 25, 50, 68, 71.) Ricola accurately discloses menthol



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in the Product’s Drug Facts Panel and is not required by FDCA to clarify its active ingredients by

changing the Product’s name (or otherwise disclosing the active ingredients on the front of the

label to dispel Plaintiff’s alleged confusion). Thus, Plaintiff’s claims seek to impose additional

requirements on Ricola inconsistent with the FDCA and are expressly preempted.

         Accordingly, summary judgment should be granted in favor of Ricola based on any of the

five independent grounds.

                    II. STATEMENT OF UNDISPUTED MATERIAL FACTS

         Pursuant to Local Rule 7.1(D)(1)(b), Ricola provides the following undisputed material

facts:

         A.      Facts Relevant to Show Lack of Deception and Harm

         1.      The active ingredient in the Product is menthol. (ECF No. 1 (“Compl.”), ¶ 18.)

         2.      The menthol in the Product is 100% herbal. (Henry Decl., Ex. 3 Expert Report of

Stefan Gafner, Ph.D. dated September 28, 2023 (“Gafner Report”) ¶¶ 7, 28-30, 34-35.)

         3.      The Drug Facts panel on the back of the Product’s packaging discloses menthol as

the active ingredient in the Product. (Compl., ¶ 19.)

         4.      The Product functions as a cough suppressant and oral anesthetic due to the

presence of the menthol in the Product, which menthol is an herbal ingredient. (Gafner Report, ¶¶

7, 28-30, 34-35.)

         5.      Peppermint is one of the herbs depicted on the front of the Product’s label.

(Compl., ¶ 2.)

         6.      The menthol in the Product is obtained directly from mint, either from corn mint

(Mentha canadensis, syn. Mentha arvensis var. glabrata, Mentha arvensis var. piperascens) or

from peppermint (Mentha× piperita) (Gafner Report, ¶¶ 7, 28-30, 34-35.)



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        7.        Plaintiff did not submit any expert report purporting to opine on the nature of the

menthol in the Product. (Henry Decl., ¶ 4.)

        8.        Plaintiff has no testing to support her allegation that the menthol in the Product is

synthetic. (Henry Decl., ¶ 4.)

        9.        Plaintiff did not submit any rebuttal expert report. (Henry Decl., ¶ 5.)

        10.       Plaintiff has not produced any facts contradicting the herbal nature of the menthol

in the Product or otherwise showing that the menthol in the Product is synthetic. (Henry Decl., ¶¶

3-4, 8, Ex. 1.)

        11.       Plaintiff does not consider menthol to be an herbal ingredient. (Henry Decl., Ex. 4,

Lacie Davis Deposition Transcript (“Davis Tr.”) 110:7-10.)

        12.       Plaintiff has admitted that she does not know whether the menthol in the Product is

herbal or synthetic. (Henry Decl., Ex. 4, Davis Tr. 66:7-17; 90:21-91:13; 108:1-7.)

        13.       Plaintiff did not submit any expert report opining as to the actual damages suffered

by Plaintiff or the putative class. (Henry Decl., Ex. 2 (“Matthews Report”) ¶¶ 165, 174-75, 188-

89; Ex. 5, Andrea Matthews, Ph.D. Deposition Transcript (“Matthews Tr.”) 135:9-12, 140:15-25,

141:1-12.)

        B.        Facts Relevant to Show Lack of Intent

        14.       Plaintiff did not submit any expert report purporting to establish that Ricola

intended that she rely on the alleged “misrepresentations” for information regarding the “herbal”

qualities of the Product’s active ingredients. (Henry Decl., ¶ 4.)

        15.       Plaintiff has not identified any facts to support an allegation that Ricola intended

that she rely on the alleged “misrepresentations” for information regarding the “herbal” qualities

of the Product’s active ingredients. (Henry Decl., ¶¶ 3, 8, Ex. 1.)



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       C.     Facts Relevant to Show The Claim is Preempted

       16.    Ricola markets the Product under two FDA-approved monographs: The Cold,

Cough, Allergy, Bronchodilator, and Antiasthmatic Drug Products For Over-The-Counter Human

Use Monograph M012: (“Cold/Cough Monograph”) (21 C.F.R. pt. 341) and the Oral Health Care

Drug Products for Over-the-Counter Human Use tentative final monograph (“Oral Anesthetic

Monograph”) (proposed 21 C.F.R. pt. 356) (53 Fed. Reg. 2436 (Jan. 27, 1988)).

       17.    The active ingredient in the Product is menthol. (Compl., ¶ 18.)

       18.    The Cold/Cough Monograph and Oral Anesthetic Monograph permit “menthol” to

be listed as an active ingredient. See Cough/Cold Monograph at 21 C.F.R. § 341.14(b)(2); Oral

Anesthetic Monograph at proposed 21 C.F.R. § 356.10(e).

       19.    The Cold/Cough Monograph and Oral Anesthetic Monograph do not distinguish

between herbal menthol and synthetic menthol. See Cough/Cold Monograph at 21 C.F.R. §

341.14(b)(2); Oral Anesthetic Monograph at proposed 21 C.F.R. § 356.10(e).

                                     III. ARGUMENT

       A.     Relevant Background

       1.     Ricola Markets The OTC Product In Compliance With The FDCA

       Ricola markets the Product under two FDA-approved monographs: The Cold/Cough

Monograph and the Oral Anesthetic Monograph. (UMF No. 16.) The Product contains the active

ingredient menthol (UMF No. 17), which is specifically permitted under both monographs. See

Cough/Cold Monograph at 21 C.F.R. § 341.14(b)(2); Oral Anesthetic Monograph at proposed 21

C.F.R. § 356.10(e).

       In compliance with the FDA’s regulations, the back of the Product’s package includes the

“Drug Facts” panel which lists the “active” and “inactive” ingredients. The FDA has determined

consumers are “expected to follow” the Drug Facts panel in deciding whether to purchase an OTC

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drug product. 64 Fed. Reg. 13254, 13258 (Mar. 17, 1999) (“[T]he order for the placement of [drug

facts] information in the final rule is modeled after the decision making process consumers would

be expected to follow, and should follow, when selecting and using OTC drug products”). The

placement of the Drug Facts panel on the back of the package is part of the FDA’s uniform system

for “consumers in reading and understanding OTC drug product labeling so that consumers may

use these products safely and effectively.” 64 Fed. Reg. at 13254. The Product’s Drug Facts panel

accurately discloses menthol as the Product’s active ingredient.

       2.      Plaintiff Incorrectly Believes That The Menthol In the Product Is Synthetic

       Before filing this lawsuit, Plaintiff purchased the Product for “over 20 years.” (Henry

Decl., Ex. 4, Davis Tr. 15:3-9; 34:9-16.) Over that time period, she purchased the Product

approximately 600 times and never had a problem with the Product. (Id., Davis Tr. 14:24-15:2;

70:7-71:2; 99:17-100:6.) In early 2022, Plaintiff was scrolling through Facebook and saw an

advertisement from her attorney in this case seeking named plaintiffs for a lawsuit against Ricola.

(Id., Davis Tr. 10:1-7.) Plaintiff claims that – despite purchasing the Product hundreds of times –

she never reviewed the back of the Product’s package until speaking with her attorneys and reading

the draft Complaint. (Id., Davis Tr. 24:18-25:22; 99:17-100:6.).

       Plaintiff “seeks to purchase OTC and other products which contain herbal ingredients that

contribute to those products’ functionality.” (ECF No. 1, Compl. ¶ 51.) Plaintiff asserts that other

consumers similarly “intentionally seek out, and pay a premium for, therapeutic products

containing herbal ingredients.” (ECF No. 11, p. 4.) Plaintiff alleges consumers “are better able to

tolerate products based on herbal ingredients than synthetic ones” and “believe that herbal

ingredients are more potent and less harmful than man-made ingredients.” (ECF No. 1, Compl.

¶¶ 11-16.)



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       Plaintiff alleges that she and other class members were harmed because, after viewing the

Product’s front label, they believed that “the Product functioned as a cough suppressant and oral

anesthetic due to the presence of herbal ingredients.” (ECF No. 1, Compl. ¶¶ 50, 68, 71; ECF No.

11, p. 12 (Plaintiff “alleges that she purchased Ricola lozenges for what she believed was their

herbally derived therapeutic properties”).) Plaintiff admits that menthol is listed as the active

ingredient in the Product’s Drug Facts panel. (ECF No. 1, Compl. ¶ 18; Henry Decl., Ex. 4, Davis

Tr. 111:12-18.) Plaintiff does not know the source of menthol, how it is used in products, or

whether it can be an herbal ingredient. (Henry Decl., Ex. 4, Davis Tr. 66:7-17, 110:7-10; see also

id. 90:21-91:13; UMF No. 12.)      Despite filing this lawsuit, which alleges that the menthol in the

Product is non-herbal, Plaintiff has never “actually looked it up to see if it is or not.” (Id., Davis

Tr. 108:1-7.)

       3.       Ricola Produces Unrebutted Evidence That The Menthol In The Product Is
                Herbal

       Contrary to the assumptions made by Plaintiff and her counsel, Dr. Gafner confirmed that

the menthol in the Product is 100% derived from the herbs mentha arvensis and mentha × piperita

– i.e., that the menthol in the Product is herbal. (UMF Nos. 2, 6.) Plaintiff did not submit any

expert report, or rebuttal expert report opining on whether or not the menthol in the Product is

herbal. (UMF Nos. 7, 9.) Plaintiff has not produced any evidence showing that the menthol in the

Product is synthetic. (UMF Nos. 7-10.)

       4.       Plaintiff’s Expert Conducts A Consumer Survey Based On The Same
                Mistaken Assumption

       Plaintiff’s only expert, Andrea Matthews, Ph.D., was asked to conduct a consumer survey

consisting of two questionnaires to test certain consumer beliefs about the Product (the “Matthews

Study”). (Henry Decl., Ex. 2, ¶¶ 16-19.) However, like Plaintiff’s Complaint, the Matthews Study

was built around the false premise that the menthol in the Product is synthetic. As such, both of
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Dr. Matthews’ questionnaires misrepresented the nature of the Product’s ingredients to

respondents.

       The first flawed questionnaire purported to test how consumers perceived the front label

of the Product by showing it to them and asking consumers about the source of the Product’s cough

suppressant and oral anesthetic benefits (the “Flawed Front Label Study”). (Henry Decl., Ex. 2,

¶¶ 127-138.) However, because Dr. Matthews apparently did not understand that the menthol in

the Product is in fact an herbal ingredient, the potential responses in the Flawed Front Label Study

failed to delineate between herbal menthol and synthetic menthol. (See Henry Decl., Ex. 2, ¶ 134.)

       The second flawed questionnaire purported to assess the extent to which consumers

preferred to purchase cough drops where the cough suppressant and oral anesthetic benefits “came

from herbal ingredients versus from menthol” (the “Flawed Preference Study”). (Henry Decl., Ex.

2, ¶ 139.) Again, the Flawed Preference Study relied on a categorically incorrect premise: that the

menthol in the Product is synthetic. (Henry Decl., Ex. 5, Matthews Tr. 105:7-11 (Q. “The only

analysis that you did was you only looked at those people who would either pick herbal only or

menthol; right?” A. “We gave people a choice between herbal only and menthol only, that is

correct.”)

       As a result, the Matthews Study is entirely useless because it did not address consumer

preferences related to the actual active ingredient in the Product – herbal menthol.

       5.      Plaintiff Does Not Produce Any Admissible Evidence Of Damages

       In her report, Dr. Matthews states that “if requested” she might run a damages model to

measure the alleged price premium in the Complaint and references several broad economic

concepts that might allow her to do so. (Henry Decl., Ex. 2, ¶¶ 165, 174-75, 188-89.) Dr.

Matthews confirmed at deposition that she was never asked to perform this work and that she



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currently has no opinion as to whether there is a price premium associated with Product and/or the

challenged label. (Henry Decl., Ex. 5, Matthews Tr. 135:9-12, 140:15-25, 141:1-12; UMF No.

13.)

       6.      All Expert and Fact Discovery Deadlines Have Closed

       On November 1, 2022, Judge Myerscough entered a scheduling order setting fact and

expert discovery deadlines in this case. (ECF No. 16.) Plaintiff’s deadline to file a motion for

class certification and serve her Rule 26 expert reports (if any) was May 5, 2023, but Plaintiff did

not file or serve any by that date. (Id.) On June 22, 2023, Plaintiff filed a motion acknowledging

that these deadlines had passed and seeking to extend the deadline to file her motion for class

certification. (ECF No. 23.) Plaintiff attached the Matthews Declaration as Exhibit C to that

motion. (ECF No. 23-3.) On July 28, 2023, Magistrate Judge McNaught granted Plaintiff’s

motion and deemed the motion and supporting documents – including the Matthews Declaration

– filed. (ECF No. 27.) At the hearing on July 30, 2023, Judge McNaught set a briefing schedule

for the motion for class certification and extended: (i) Ricola’s deadline to depose Plaintiff’s expert

to August 30, 2023; (ii) Ricola’s deadline to file an opposition to the motion for class certification

and exchange Rule 26 expert reports to September 28, 2023; (iii) Plaintiff’s deadline to file a reply

brief in support of motion for class certification (if any) to October 12, 2023; and (iv) Plaintiff’s

deadline to depose Ricola’s expert(s) to October 26, 2023. (Henry Decl ¶ 2.) No other changes

were requested by the parties or made to the Court’s original scheduling order. (Id.) Accordingly,

all discovery in this matter closed on October 31, 2023. (ECF No. 16.)

       B.      Legal Standard

       Federal Rule of Civil Procedure 56(a) provides that courts “shall grant summary judgment

if the movant shows that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” The moving party bears the initial burden of either
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providing evidence to show there is an absence of material fact or pointing to a lack of evidence

in the record to support an element of a claim that the non-movant must prove at trial. Celotex

Corp v. Catrett, 477 U.S. 317, 324-25 (1986). The burden then shifts to the non-movant “to come

forward with specific facts showing that there is a genuine issue for trial.” Spierer v. Rossman,

798 F.3d 502, 507 (7th Cir. 2015).

       Although courts construe facts in the light most favorable to the non-movant, Ogden v.

Atterholt, 606 F.3d 355, 358 (7th Cir. 2010), a factual dispute can preclude summary judgment

only if related to an issue that “might affect the outcome of the suit under the governing

law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). To satisfy this standard, the

non-movant must come forward with sufficient “evidence on which the jury could reasonably find

for the [non-movant].” Id. at 252; see Roger Whitmore’s Auto Servs., Inc. v. Lake Cnty., 424 F.3d

659, 669 (7th Cir. 2005) (finding that the non-movant’s evidence to oppose summary judgment

was little more than “bare speculation or a scintilla of evidence, neither of which will suffice”).

       C.      Plaintiff Cannot Establish The Elements Of Her Claims

       “It is the obligation of the Plaintiff, as the party opposing summary judgment, to offer some

admissible evidence in support of each element of her claim, sufficient for a reasonable juror to

render a verdict in her favor.” Elder v. Bimbo Bakeries USA, Inc., No. 3:21-cv-637-DWD, 2023

U.S. Dist. LEXIS 176362, at *16 (S.D. Ill. Sep. 29, 2023). Here, to prevail on her ICFA and unjust

enrichment claims, Plaintiff must prove: (1) a deceptive act or practice undertaken by Ricola; (2)

that the act or practice occurred in the course of conduct involving trade or commerce; (3) that

Ricola intended Davis and the members of the class to rely on the deception; and (4) that actual

damages were proximately caused by the deception. Oshana v. Coca-Cola Co., 472 F.3d 506, 513

(7th Cir. 2006); Benson, 2021 U.S. Dist. LEXIS 220986, at *12 n.4; see also ECF No. 11, pp. 20-

21 (“Under Illinois law, plaintiffs’ request for relief based on unjust enrichment is not a stand-
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alone claim; rather, it is tied to the fate of their claim for statutory fraud.”). Plaintiff has failed to

put forward admissible evidence to support these elements.

        1.      Unrebutted Evidence Establishes That The Product’s Active Ingredient Is
                Herbal and Therefore Plaintiff and Other Consumers Were Not Deceived

        To establish the first element of her ICFA claim, Plaintiff “bears the burden of proving the

defendant’s advertising claim is false or misleading.” Beardsall v. CVS Pharmacy, Inc., 953 F.3d

969, 977 (7th Cir. 2020). “To be actionable under the ICFA, a representation must be ‘material,’

which is established by applying an objective standard.” Clark v. Bumbo Int'l Tr., No. 15 C 2725,

2017 U.S. Dist. LEXIS 137607, at *15 (N.D. Ill. Aug. 28, 2017) (emphasis added).

        Plaintiff’s testimony alone is insufficient to satisfy that a representation is false or

misleading at this stage. Beardsall, 953 F.3d at 977 (non-moving party “may not rest upon mere

allegations in the pleadings or upon conclusory statements in affidavits; [she] must go beyond the

pleadings and support [her] contentions with proper documentary evidence.”); see also Weaver v.

Champion Petfoods USA Inc., 3 F.4th 927, 937 (7th Cir. 2021) (finding plaintiff’s own testimony

“falls short of evidence” to satisfy the reasonable consumer standard). Rather, to clear this bar,

Plaintiff must offer admissible evidence to “establish ‘a probability that a significant portion of the

general consuming public [. . .], acting reasonably in the circumstances, could be misled.” Elder

v. Bimbo Bakeries USA, Inc., No. 3:21-cv-637-DWD, 2023 U.S. Dist. LEXIS 176362, at *6 (S.D.

Ill. Sep. 29, 2023).

        Here, Plaintiff alleges in her Complaint that (i) “Plaintiff relied on the [Product’s]

representations and omissions to believe the Product functioned as a cough suppressant and oral

anesthetic due to the presence of herbal ingredients” (ECF No. 1, ¶¶ 50, 68); and (ii) that these

representations were deceptive because “menthol” is “the only active ingredient” and “the

Product’s therapeutic effect is not provided by any of the herbs pictured on the front label” (Id., ¶¶

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17-18). There is no admissible evidence, let alone any evidence or any facts, that the Product’s

therapeutic effect is not provided by herbal menthol – including the peppermint herb pictured on

the front label. (UMF No. 7-10.) Plaintiff has not identified any evidence or submitted any expert

reports which establish that the menthol in the Product is synthetic – or anything other than herbal.

(UMF 7-10.) Plaintiff thus “has not gone beyond the pleadings and supported [her] claims with

the necessary evidence,” and this alone dooms her case. Beardsall, 953 F.3d at 976.

       Plaintiff revealed at deposition that she does not even know how menthol is made and/or

whether it can be an herbal ingredient. (UMF Nos. 11-12.) In fact, Plaintiff has never “actually

looked it up to see if it is or not.” (Henry Decl., Ex. 4, Davis Tr. 108:1-7.) Thus, Plaintiff concedes

that if the menthol in the Product is in fact an herbal ingredient, the Product’s label would not

necessarily be misleading:

       Q. So assuming that menthol is an herbal ingredient and it was just omitted from
       the front of the package, would you still feel mislead knowing that an herbal
       ingredient contributes to the function of the product?

       A. Not necessarily.

(Henry Decl., Ex. 4, Davis Tr. 131:10-19.) Plaintiff (and her counsel) did not, before filing the

Complaint, investigate whether or not the menthol in the Product was an herbal ingredient.

       In contrast to Plaintiff’s bare allegations, Ricola has produced unrebutted evidence

demonstrating that: (i) the cough suppressant and anesthetic functions in the Product are provided

by an herbal ingredient (menthol) (UMF Nos. 1-4, 6); and (ii) peppermint, which is depicted on

the front of the Product’s label, is a contributing source for the menthol in the Product which

provides the therapeutic effect (UMF Nos. 5-6). Thus, as Dr. Gafner explains in his report,

“Plaintiff’s allegation that the Product does not contain herbal ingredients is without any basis in

fact” because “[t]he menthol in the Product, identified as the active ingredient of the Product, is



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an herbal product.” (Henry Decl., Ex. 3, Gafner Report ¶ 34.) Plaintiff’s claims are therefore

conclusively disproven by the undisputed factual record and summary judgment should be granted.

       2.      The Matthews Study Ignores The Fact That The Active Ingredient Is Herbal,
               and Does Not Provide Evidence Of Any Materially Deceptive Statement

       The only evidence offered to support the first element of Plaintiff’s ICFA claim is the

expert report of Andrea Matthews, Ph.D. – a purported expert in consumer research. However,

Dr. Matthews’ expert testimony is not directed to a materially deceptive statement, let alone any

evidence of the same.

       In conducting her study, Dr. Matthews (like Plaintiff and her counsel) made an incorrect

assumption of fact: that the menthol in the Product was synthetic – and could not properly be

understood to be an herbal ingredient. As such, Dr. Matthews attempted to assess “the extent to

which consumers preferred to purchase cough drops where the cough suppressant and oral

anesthetic benefits came from herbal ingredients versus from menthol” and “preferences for

cough drops which derive the medicinal benefit from only herbal ingredients compared to

menthol.” (Henry Decl., Ex. 2, ¶¶ 139, 159 (emphasis added).) Hence, her consumer testing (in

addition to other flaws, such as failing to show respondents the entirety of the labeling at issue)

was simply not designed to address consumer preferences related to the actual active ingredient in

the Product – herbal menthol. (See Henry Decl., Ex. 5, Matthews Tr. 68:22-69:2; 154:15-23 (Q.

“So your analysis that you were tasked with was to compare herbal only versus menthol only, not

herbal only versus anything else that could be the active ingredient; is that correct?” A. “Our

analysis for materiality was to assess preferences for herbal only versus menthol only. That was

represented to us as the nature of the complaint.”).)

       This is not the first time that Dr. Matthews (or Plaintiffs’ counsel) have relied on false

assumptions in attempting to establish consumer deception. In Elder v. Bimbo Bakeries, an expert

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report submitted by Dr. Matthews was recently ruled insufficient to create a material dispute of

fact on the element of deception because it similarly relied on a false assumption (again supplied

by Plaintiffs’ counsel here) and summary judgment was granted in favor of the defendant. 2023

U.S. Dist. LEXIS 176362, at *6. Specifically, in Elder, the plaintiff alleged that the defendant’s

“All Butter Loaf Cake” would mislead a reasonable consumer to believe that the butter in the

product provided all of the product’s flavor and shortening function when, instead, they were

provided by artificial flavors and/or soybean oil. Id. at *2-3. At summary judgment, the defendant

argued that plaintiff had not offered any evidence to substantiate that butter did not provide the

product’s flavor or shortening function. Id. at *11-13. In response, the plaintiff attempted to rely

on a purported “Consumer Confusion Survey” in which “Dr. Matthew[s] made the assumption

that, in fact, the product was not butter flavored and shortened by butter alone.” Id. at *18.

Rejecting Dr. Matthews’ survey, the court explained that the problem underlying this assumption

was that “there is no evidence that the product here has its butter flavor or its shortening from

anything but butter.” Id. Because Dr. Matthews had no basis for this assumption (other than bare

assertions from Plaintiff’s counsel) the court found that the “survey provides no help to Plaintiff

in her effort to show the existence of evidence” to meet the reasonable consumer standard. Id. at

*19.

       The Matthews Study here suffers from a nearly identical flaw. In designing her survey

questions, Dr. Matthews simply did not bother to delineate between herbal menthol and synthetic

menthol because she incorrectly assumed that the menthol in the Product was not an herbal

ingredient. As a result, the responses in the Flawed Front Label and Preference Studies can only

establish that consumers might: (1) believe that the Product’s active ingredient is herbal and/or

menthol based on the front of the package (any combination of these answers are correct); and (2)



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have a slight preference for herbal active ingredients over synthetic menthol (which is not in the

Product). (See Henry Decl., Ex. 2, ¶¶ 33-35, 159-63.) In other words, every possible answer to

these key questions in the Matthews Study support that consumers are not misled and/or harmed.

(See id., ¶¶ 129, 140-41.)

       The results of the Matthews Study, which rely on false assumptions regarding the Product’s

properties, are therefore far from evidence to “establish ‘a probability that a significant portion of

the general consuming public [. . .], acting reasonably in the circumstances, could be misled.”

Elder, 2023 U.S. Dist. LEXIS 176362, at *6.

       3.      Plaintiff Has No Evidence To Establish Ricola’s Intent

        “A successful claim under the ICFA requires that the plaintiff ‘plead and prove that the

defendant committed a deceptive or unfair act with the intent that others rely on the deception.”

Nofsinger v. Jackson Nat'l Life Ins. Co., No. 17-cv-03367, 2021 U.S. Dist. LEXIS 135841, at *11

(N.D. Ill. July 21, 2021) (emphasis added). Therefore, to support her ICFA claim, Plaintiff “must

set forth some evidence raising a genuine issue of material fact that [Ricola] intended to induce

[her] reliance” on the alleged misrepresentations or omissions on the Product’s packaging. Great

Lakes Reinsurance UK v. 1600 W. Venture, LLC, 261 F. Supp. 3d 860, 866 (N.D. Ill. 2017)

(granting summary judgment on ICFA claim because plaintiff failed to point to evidence of

defendant’s intent). Here, Plaintiff has not identified (and cannot offer) any evidence whatsoever

to support an allegation that Ricola intended that she rely on the alleged “misrepresentations” for

information regarding the “herbal” qualities of the Product’s active ingredients. (UMF Nos. 14-

15.) Thus, her claims independently fail for this reason. Great Lakes, 261 F. Supp. 3d at 866.

       4.      Plaintiff Has Not Offered Any Viable Damages Model To Support That The
               Product’s Labeling Proximately Caused Her Any Harm

       “The actual damage element of a private ICFA action requires that the plaintiff suffer

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‘actual pecuniary loss.’” Kim v. Carter’s Inc., 598 F.3d 362, 365 (7th Cir. 2010); Price v. Philip

Morris, Inc., 219 Ill. 2d 182, 275-76 (2005) (“Theoretical harm is insufficient. Damages may not

be predicated on mere speculation, hypothesis, conjecture or whim.”). At the summary judgment

stage, “[i]t is not enough to discuss what a damage model might look like, what evidence might be

developed, or what an expert might prepare or say.” In re Brand Name Prescription Drugs

Antitrust Litig., No. 94 C 897, 2000 U.S. Dist. LEXIS 1750, at *12 (N.D. Ill. Feb. 9, 2000)

(emphasis added); see also Colpitts v. Blue Diamond Growers, No. 20 Civ. 2487 (JPC), 2023 U.S.

Dist. LEXIS 57108, at *12-13 (S.D.N.Y. Mar. 31, 2023) (granting summary judgment in NY false

advertising case where plaintiff had “not substantiated his allegation that reasonable consumers

are willing to pay a higher price for the Smokehouse Almonds due to their alleged mislabeling,

since the record contains no evidence whatsoever as to how the source of smoky flavoring affects

the market price of flavored foods.”)

       Here, Plaintiff has never put forward any evidence to establish that she or the putative class

overpaid for the Product because of any representations on the label – i.e., that the Product’s

labeling proximately caused her harm. (UMF No. 13.) In her declaration, Dr. Matthews states

“we were asked to present the methodology we would use if requested to conduct a price premium

analysis on the value consumers would place on the Product if its source of medicinal benefits was

herbs versus menthol.” (Henry Decl., Ex. 2, ¶ 19.) But Dr. Matthews confirmed at deposition that

she was never asked to perform this work and that she currently has no opinion as to whether there

is a price premium associated with Product and/or the challenged label. (Henry Decl., Ex. 5,

Matthews Tr. 135:9-12, 140:15-25, 141:1-12.) At this stage, the deadline to submit damages

evidence has long since passed and Plaintiff has failed to carry her burden. Summary judgment

can and should be granted on this failing alone.

       Moreover, regardless of Plaintiff’s failure to produce any evidence of damages before the

close of discovery, or at any point in the case to date, Dr. Matthews’ proposed damages model

would still have suffered from the same fatal flaws as her Flawed Front Label and Preference

Studies because she again assumed that the menthol in the Product was synthetic. For example,

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Dr. Matthews claims in her report that “[a] reasonable next step for research would be to measure

the amount that consumers would be willing to pay for cough drops that they believed obtained

their cough suppressant and oral anesthetic benefits from herbal ingredients only, compared to

those who obtained these benefits through menthol.” (Henry Decl., Ex. 2, ¶ 165 (emphasis added).)

In other words, Dr. Matthews erroneously proposed to run a damages model that would test

consumer preferences for non-herbal menthol – which is not in the Product.

       In sum, no reasonable factfinder could conclude from the evidence in the record that

Plaintiff has established that she paid a price premium for the Product. Because she has failed to

offer any viable damages model to support her injury, an element she must prove to succeed on

her claims, summary judgment should be granted.

       D.      Plaintiff Lacks Article III Standing

       Under Article III, plaintiff must have suffered an “injury in fact” that is (a) concrete and

particularized and (b) actual or imminent, not conjectural or hypothetical. Friends of the Earth,

Inc. v. Laidlaw Env't Servs. (TOC), Inc., 528 U.S. 167, 180 (2000). “As the party invoking federal

jurisdiction, a plaintiff bears the burden of establishing the elements of Article III standing.” Silha,

807 F.3d at 173. While allegations that a plaintiff has suffered a price premium can be sufficient

to support Article III standing at the pleadings stage, see e.g., In re Aqua Dots Prods. Liab. Litig.,

654 F.3d 748, 751 (7th Cir. 2011), “[w]hen litigation moves beyond the pleading stage and Article

III standing is challenged as a factual matter, a plaintiff can no longer rely on mere allegations of

injury; he must provide evidence of a legally cognizable injury in fact.” Flynn v. FCA US LLC,

39 F.4th 946, 949-50 (7th Cir. 2022). Plaintiff must therefore establish with evidence that she,

together with all members of the putative class, suffered an injury in fact relating to the Product.

Payton v. Cnty. of Kane, 308 F.3d 673, 682 (7th Cir. 2002) (“[I]t bears repeating that a person

cannot predicate standing on injury which he does not share. Standing cannot be acquired through

the back door of a class action.”); TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2207-08 (2021)

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(“Article III does not give federal courts the power to order relief to any uninjured plaintiff, class

action or not.”).

        Here, as discussed above, Plaintiff alleges in her Complaint that she and members of the

putative class paid a price premium for the Product. (ECF No. 1, Compl. ¶¶ 71-72.) However,

Plaintiff has never identified any evidence to support this alleged price premium and her expert,

Dr. Matthews, merely opined that she “might” be able to perform testing in the future. (UMF No.

13.)   Moreover, contrary to Plaintiff’s alleged deception forming the basis for this speculative

theory of a price premium being paid by consumers for herbal menthol (versus synthetic menthol),

Dr. Gafner’s report conclusively establishes that the active ingredient in the product is in fact

herbal. (UMF Nos. 2, 4, 6.) Thus, Plaintiff and the putative class got exactly what they alleged

they paid for – a Product with an active herbal ingredient – and they could not have been damaged

in purchasing the Product.

        Plaintiff’s allegation that she and the putative class paid a “premium price” for the Product,

is therefore not supported by any admissible evidence and she lacks any cognizable injury.

Accordingly, Plaintiff has failed to establish standing under Article III, and summary judgment is

properly granted on this basis. Flynn, 39 F.4th at 952-53.

        E.      Plaintiff’s Claims Are Expressly Preempted By The FDCA 2

        When federal and state law conflict, “federal law prevails and state law is preempted.”

Murphy v. NCAA, 138 S. Ct. 1461, 1476 (2018); Turek v. Gen. Mills, Inc., 662 F.3d 423, 427 (7th

Cir. 2011) (states cannot impose requirements which are not “identical” to FDCA). “Preemption

can take on three different forms: express preemption, field preemption, and conflict preemption.”



2
  Ricola raised several preemption arguments in connection with its motion to dismiss. However,
these arguments were not addressed by the Court in its Order dated September 12, 2022. (See ECF
Nos. 6, 7, 10, 11.)
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Aux Sable Liquid Prods. v. Murphy, 526 F.3d 1028, 1033 (7th Cir. 2008). Express preemption,

“occurs when a federal statute explicitly states that it overrides a state or local law that is

inconsistent with the language of the preemption.” Wright v. Walmart, Inc., No. 22-cv-02311-

SPM, 2023 U.S. Dist. LEXIS 146631, at *8 (S.D. Ill. Aug. 21, 2023).

       The FDA regulates the sale of OTC drug products such as the Product. The FDA developed

a separate regulatory process, known as the monograph system, for the approval of classes of OTC

drug products, such as cough drops, and their active ingredients. As a component of the

monograph system, “the FDA regulates the contents of labels and controls the information the

labels the convey.” Id. at *12. Pursuant to the Food Drug and Cosmetic Act (“FDCA”), “any

labeling requirement that is different from or in addition to, or that is otherwise not identical with,

a requirement imposed under federal law is subject to preemption.” 21 U.S.C. §379r(a)(2). Thus,

“[a]s many cases have held, monograph conditions are ‘requirements’ that have preemptive

effect.” Solak v. Target Corp., No. 3:22-cv-813, 2023 U.S. Dist. LEXIS 158087, at *10 (N.D.N.Y.

Sep. 7, 2023).

       Here, Ricola markets the Product under the Cold/Cough Monograph and Oral Anesthetic

Monograph and thus is required to follow FDA’s regulations as to how the Product should be

labeled. (UMF No. 16.) First, FDA requires that the Product to be labeled with the statement(s)

of identity “Cough Suppressant” and/or “Oral Anesthetic” on the principal display panel. See §§

M012.70(b), M012.74, 53 F.R. § 356.55(a); 21 C.F.R. § 201.61 (“The principal display panel of

an over-the-counter drug in package form shall bear as one of its principal features a statement of

the identity of the commodity”). The Product complies with these regulations, and identifies itself




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as a “Cough Suppressant” and “Oral Anesthetic” on the front of the package – i.e., the principal

display panel. 3

        Second FDA requires that the Product have a drug facts panel on the back which lists

“active ingredients as the very first information within a clearly defined panel, immediately below

a prominent title.” 64 Fed. Reg. 13254, 13260. As the FDCA further explains in the final rule,

the purpose of this placement is to:

        [E]nable consumers to quickly and systematically compare ingredients within
        products for similar uses. In addition, because the respective purposes will be
        listed next to each active ingredient, consumers will know why the ingredient
        is in the product.

64 Fed. Reg. 13254, 13260 (emphasis added); see also 13258. Through these actions, the FDCA

expressly regulates whether and where on the label an OTC product should disclose its active

ingredients.

        Plaintiff claims that she inferred from the statements “Cough Suppressant” and “Oral

Anesthetic,” the Product’s name, and images of herbs on the front label that the Product’s functions

were provided by herbal active ingredients. (ECF No. 1, Compl. ¶¶ 17, 22, 25, 50, 68, 71.)

Accordingly, to dispel Plaintiff of her alleged confusion, Ricola would be required to change the

Product’s labeling to specify that the active ingredient is herbal menthol by identifying the active

ingredient on the front of the label.      This proposed requirement is inconsistent with the

determinations of the FDA regarding placement of the Product’s active ingredients in connection

with the statement of identity. Through this litigation, Plaintiff cannot seek to impose additional




3
  The term “principal display panel,” as it applies to packaged OTC products, “means the part of a
label that is most likely to be displayed, presented, shown, or examined under customary
conditions of display for retail sale.” 21 C.F.R. § 201.60.
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requirements on Ricola which are not the same as the FDCA and her claims are therefore expressly

preempted. 4

       Moreover, Plaintiff cannot avoid express preemption by simply asserting that Ricola can

make other changes to the Product’s packaging – i.e., by adding other language or removing

references to the herbs in the Product. Solak, 2023 U.S. Dist. LEXIS 158087, at *16-17

(dismissing ICFA claims and explaining that “by claiming that some other terminology is

necessary to ensure that the label is not misleading, plaintiff impermissibly claims that state law

imposes requirements that are different from, additional to, or otherwise not identical with, the

requirements of the FDCA”); see also Turek, 662 F.3d at 427 (claims regarding product’s

percentage daily value of fiber were preempted because, if successful, they would require the

addition of “disclaimers” that were “not identical to the labeling requirements imposed on such

products by federal law”).

       In sum, in compliance with FDA regulations, the Product accurately discloses (i) its

statements of identity on the principal display panel and (ii) that menthol is the active ingredient

in the Drug Facts panel. Plaintiff’s claims – which attempt to impose additional requirements on

Ricola inconsistent with the FDCA – are expressly preempted.

                                         CONCLUSION

       For the foregoing reasons, Ricola’s Motion for Summary Judgment should be granted.




4
 Plaintiff’s Complaint vaguely references a September 2022 draft FDA guidance document which
contains a recommendation that products list the “Established Name” of an active ingredient near
disclosures of strength. (ECF No. 1, Compl. ¶ 20.) However, this draft guidance is explicitly
“non-binding” and does not impose any additional labeling requirements on OTC monograph
products.
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Dated: November 17, 2023       Respectfully submitted,

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                            CERTIFICATE OF COMPLIANCE

       This Ricola’s Motion for Summary Judgment complies with the type volume limitations

of Local Rule 7.1(B)(4) because Section III (Argument) contains 5,407 words.


                                         By: /s/ David M. Poell
                                         David M. Poell




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                                 CERTIFICATE OF SERVICE

       I, David Poell, an attorney, hereby certifies that, on November 17, 2023, a copy of the

foregoing document was filed via this Court’s CM/ECF electronic filing system, which effects

service on all counsel of record in this matter.


 Dated: November 17, 2023                    Respectfully submitted,

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                                             David M. Poell
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